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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 2:13-cv-14072-JEM

  FRANCESCO MANASSE, individually,

  Plaintiff,

  vs.

  MIDLAND FUNDING LLC, a foreign limited
  liability company, and MIDLAND CREDIT
  MANAGEMENT, INC., a foreign corporation,

  Defendants.
  _____________________________________/

                                   NOTICE OF SETTLEMENT

          Plaintiff and Defendants hereby give notice that settlement of this matter has been

  reached as to all claims of the Plaintiff, and therefore request that the Court vacate all dates

  currently set on calendar in connection with Plaintiff’s claim and afford the parties sixty (60)

  days to file necessary dismissal papers.

          Respectfully submitted this 30th day of April, 2021.

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                                                      By: /s/ Bret L. Lusskin, Esq.
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                                                          Florida Bar No. 28069
